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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


LOGAN FULLER,                                                 )
                                                              )
                              Plaintiff,                      )
                                                              )    CIVIL ACTION
vs.                                                           )
                                                              )    Case No. 1:24-CV-01523
SHANGHAI LAND INVESTMENT, L.L.C.,                             )
                                                              )
                              Defendant.                      )


                                            COMPLAINT

       COMES NOW, LOGAN FULLER, by and through the undersigned counsel, and files

this, his Complaint against Defendant, SHANGHAI LAND INVESTMENT, L.L.C., pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).            In support thereof, Plaintiff

respectfully shows this Court as follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

SHANGHAI LAND INVESTMENT, L.L.C., failure to remove physical barriers to access and

violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff LOGAN FULLER (hereinafter “Plaintiff”) is and has been at all times

relevant to the instant matter, a natural person residing in Northglenn, CO (Adams County).

       3.      Plaintiff is disabled as defined by the ADA.




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       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. His

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

       7.      Defendant,     SHANGHAI          LAND      INVESTMENT,            L.L.C.   (hereinafter

“SHANGHAI LAND INVESTMENT, L.L.C.”) is a domestic limited liability company that

transacts business in the State of Colorado and within this judicial district.

       8.      Defendant, SHANGHAI LAND INVESTMENT, L.L.C., may be properly served

with process via its Registered Agent for service, to wit: c/o Woon Ki Lau, Registered Agent,

1930 N. Sherman Street, Denver, CO 80203.

                                  FACTUAL ALLEGATIONS

       9.      On or about May 15, 2024, Plaintiff was a customer at “Dulce Neveria,” an ice

cream shop located at 7055 Pecos Street, Denver Colorado 80221, referenced herein as “Dulce



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Neveria”. See Receipt attached as Exhibit 1. See also photo of Plaintiff attached as Exhibit 2.

       10.     Defendant, SHANGHAI LAND INVESTMENT, L.L.C., is the owner or co-

owner of the real property and improvements that Dulce Neveria is situated upon and that is the

subject of this action, referenced herein as the “Property.”

       11.     Defendant, SHANGHAI LAND INVESTMENT, L.L.C., is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, SHANGHAI LAND INVESTMENT, L.L.C., and a

tenant allocating responsibilities for ADA compliance within the unit the tenant operates, that

lease is only between the property owner and the tenant and does not abrogate the Defendant’s

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to the Dulce Neveria, located at 7055 Pecos Street, Denver

Colorado     80221, Adams County Property Appraiser’s property identification number:

0182504201005 (“the Property”), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein were denied

and/or limited because of his disabilities, and he will be denied and/or limited in the future unless

and until Defendant is compelled to remove the physical barriers to access and correct the ADA

violations that exist at the Property, including those set forth in this Complaint.

       13.     Plaintiff lives only 5 miles from the Property.

       14.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

travels by the Property at least once a month.




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       15.     Plaintiff has visited the Property once before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer to Dulce Neveria and to visit Ace Hardware at the shopping

plaza, to determine if and when the Property is made accessible and to substantiate already

existing standing for this lawsuit for Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose himself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       17.     Plaintiff travelled to the Property as a customer once before as a customer,

personally encountered many barriers to access the Property that are detailed in this Complaint,

engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

harm and injury if all the illegal barriers to access present at the Property identified in this

Complaint are not removed.

       18.     Although Plaintiff may not have personally encountered each and every barrier to

access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to



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access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

       19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is


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               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



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       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit his access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       31.     Defendant, SHANGHAI LAND INVESTMENT, L.L.C., has discriminated

against Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of the

Property, as prohibited by, and by failing to remove architectural barriers as required by, 42

U.S.C. § 12182(b)(2)(A)(iv).

       32.     Defendant, SHANGHAI LAND INVESTMENT, L.L.C., will continue to

discriminate against Plaintiff and others with disabilities unless and until Defendant,



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SHANGHAI LAND INVESTMENT, L.L.C., is compelled to remove all physical barriers that

exist at the Property, including those specifically set forth herein, and make the Property

accessible to and usable by Plaintiff and other persons with disabilities.

       33.       A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.   All of the accessible parking spaces on the Property (except for one) do not

                    have a marked access aisle in violation of Section 502.3.3 of the 2010

                    ADAAG standards. This barrier to access makes it nearly impossible for an

                    individual in a wheelchair to enter and exit their vehicle at this accessible

                    parking space due to the close presence of parked vehicles on either side of

                    the accessible parking spaces not providing enough room for the wheelchair,

                    this eliminates the accessible route from this accessible parking space.

             ii.    The one accessible parking space that does have an access aisle, has potholes

                    and vertical rises in the access aisle in violation of Section 502.4 of the 2010

                    ADAAG Standards. This barrier to access would make it dangerous and

                    difficult for Plaintiff to park his vehicle and attempt to visit the public

                    accommodation as his wheelchair could snag on the vertical rise and tip.

             iii.   The one accessible parking space that does have an access aisle, is not

                    adequately marked as the access aisle is faded and one cannot discern the

                    markings well, this is a violation of Section 502.1 of the 2010 ADAAG



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                Standards and would impact Plaintiff’s ability to find the accessible parking

                space and for other vehicles to know not to park there.

          iv.   The majority of the accessible parking spaces are missing identification signs

                in violation of Section 502.6 of the 2010 ADAAG standards. This barrier to

                access would make it difficult for Plaintiff to locate an accessible parking

                space.

          v.    There are no accessible parking spaces on the Property that have a sign

                designating an accessible parking space as “Van Accessible” in violation of

                Section 208.2.4 of the 2010 ADAAG standards and Section 502.6 of the 2010

                ADAAG standards. This barrier to access would make it difficult for Plaintiff

                to locate a van accessible parking space.

          vi.   There are multiple accessible parking spaces, the five in the middle, are not

                located on the shortest distance to the accessible route leading to the

                accessible entrances in violation of Section 208.3.1 of the 2010 ADAAG

                Standards. This barrier to access would make it difficult and dangerous for

                Plaintiff to access the units of the Property from these accessible parking

                spaces as the far location increases the likelihood of traversing into the

                vehicular way and getting struck by a vehicle or encountering a barrier to

                access which stops Plaintiff from accessing the public accommodations

                offered at the Property.

         vii.   For all the accessible parking spaces lacking an access aisle, when a vehicle

                parks on either side of the accessible parking space, there is not enough room

                for an individual in a wheelchair to leave and enter their vehicle due to the



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                 lack of an access aisle providing room, this blocks the access route leading

                 from all such accessible parking spaces in violation of Section 208.3.1 of the

                 2010 ADAAG Standards.

         viii.   In front of Unit 7041, the Property has an accessible ramp leading from the

                 accessible parking spaces to the accessible entrances with a slope exceeding

                 1:10 in violation of Section 405.2 of the 2010 ADAAG standards. This barrier

                 to access would make it dangerous and difficult for Plaintiff to access the

                 units of the Property because when ramps are too steep (more than 1:12) it

                 requires too much physical arm strain to wheel up the ramp and increases the

                 likelihood of the wheelchair falling backwards and Plaintiff being injured.

          ix.    In front of Ace Hardware, the Property has two accessible ramps leading from

                 the accessible parking spaces to the accessible entrances with a slope

                 exceeding 1:10 in violation of Section 405.2 of the 2010 ADAAG standards.

                 This barrier to access would make it dangerous and difficult for Plaintiff to

                 access the units of the Property because when ramps are too steep (more than

                 1:12) it requires too much physical arm strain to wheel up the ramp and

                 increases the likelihood of the wheelchair falling backwards and Plaintiff

                 being injured.

           x.    Adjacent to the accessible entrance to Unit 7043, there is a vertical rise of

                 approximately ½ of an inch along the accessible route in violation of Section

                 303.2 of the 2010 ADAAG standards. This barrier to access would make it

                 dangerous and difficult for Plaintiff to access public features of the Property




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                 as vertical rise in excess of ¼ inch may cause Plaintiff’s wheelchair to snag on

                 the vertical rise and tip over.

          xi.    Across the vehicular away from Unit 7045, there are four accessible parking

                 spaces that do not have a marked access aisle in violation of Section 502.3.3

                 of the 2010 ADAAG standards. This barrier to access makes it nearly

                 impossible for an individual in a wheelchair to enter and exit their vehicle at

                 this accessible parking space due to the close presence of parked vehicles on

                 either side of the accessible parking spaces not providing enough room for the

                 wheelchair, this eliminates the accessible route from this accessible parking

                 space.

          xii.   Inside Dulce Neveria, due to a policy of placing two large refrigerator/freezers

                 in the accessible route leading from the dining area to the restrooms, there is a

                 lack of a clear 36 inch accessible route. This is a violation of Section 403.5.1

                 of the 2010 ADAAG standards. This barrier to access would make it difficult

                 for Plaintiff to properly utilize public features at the Property because the

                 width of Plaintiff’s wheelchair would prevent passage through areas with a

                 width less than 36 inches.

         xiii.   As a result of the barrier to access identified in (xii) above, the Property lacks

                 an accessible route connecting the exterior of the Property to all accessible

                 elements and features inside the Property in violation of Section 206.2.4 of the

                 2010 ADAAG standards. This barrier to access would make it difficult for

                 Plaintiff to access public features of the Property due to the lack of a safe

                 accessible route leading from the exterior to interior spaces inside the



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                        Property. As a result, Plaintiff was unable to access the restroom at this

                        location despite his need and desire to use the restroom.

              xiv.      Defendant fails to adhere to a policy, practice and procedure to ensure that all

                        facilities are readily accessible to and usable by disabled individuals.

        34.          The violations enumerated above may not be a complete list of the barriers,

 conditions or violations encountered by Plaintiff and/or which exist at the Property.

        35.          Plaintiff requires an inspection of the Property in order to determine all of the

 discriminatory conditions present at the Property in violation of the ADA.

        36.          The removal of the physical barriers, dangerous conditions and ADA violations

 alleged herein is readily achievable and can be accomplished and carried out without significant

 difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

        37.          All of the violations alleged herein are readily achievable to modify to bring the

 Property into compliance with the ADA.

        38.          Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable because the nature and cost of

 the modifications are relatively low.

        39.          Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable because Defendant,

 SHANGHAI LAND INVESTMENT, L.L.C., has the financial resources to make the necessary.

        40.          Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable. According to the Adams

 County Property Appraiser’s Office the property is valued at $7,827,801.00.




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           41.    The removal of the physical barriers and dangerous conditions present at the

 Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

 and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

 modifications.

           42.    Upon information and good faith belief, the Property has been altered since 2010.

           43.    In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

 standards apply, and all of the alleged violations set forth herein can be modified to comply with

 the 1991 ADAAG standards.

           44.    Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

 reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

 SHANGHAI LAND INVESTMENT, L.L.C., is required to remove the physical barriers,

 dangerous conditions and ADA violations that exist at the Property, including those alleged

 herein.

           45.    Plaintiff’s requested relief serves the public interest.

           46.    The benefit to Plaintiff and the public of the relief outweighs any resulting

 detriment to Defendant, SHANGHAI LAND INVESTMENT, L.L.C.

           47.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

 litigation from Defendant, SHANGHAI LAND INVESTMENT, L.L.C., pursuant to 42 U.S.C.

 §§ 12188 and 12205.

           48.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

 injunctive relief to Plaintiff, including the issuance of an Order directing Defendant,

 SHANGHAI LAND INVESTMENT, L.L.C., to modify the Property to the extent required by

 the ADA.



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            WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant, SHANGHAI LAND INVESTMENT, L.L.C., in

            violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant, SHANGHAI

            LAND INVESTMENT, L.L.C., from continuing their discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant, SHANGHAI LAND

            INVESTMENT, L.L.C., to (i) remove the physical barriers to access and (ii) alter

            the subject Property to make it readily accessible to and useable by individuals

            with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

            and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable in light of the

            circumstances.

                                          Dated: May 29, 2024.

                                          Respectfully submitted,

                                          Law Offices of
                                          THE SCHAPIRO LAW GROUP, P.L.

                                          /s/ Douglas S. Schapiro
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